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                 UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE


United States of America,
      Plaintiff

            v.
                                             Case No. 10-cr-97-02/03-SM

Ronald Martel and
Garth Martel,
      Defendants

                                    ORDER


      Defendant Ronald Martel’s motion to continue the final pretrial

conference and trial is granted (document no. 40). Trial has been rescheduled

for the May 2011 trial period. Defendant Ronald Martel shall file a waiver of

speedy trial rights not later than April 18, 2011. On filing of such waiver, his

continuance shall be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial,

18 U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.
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      Final Pretrial Conference is rescheduled for May 1 1 , 2011 at

2:00 p.m.

      Jury selection will take place on May 17, 2011 at 9:30 a.m.



      SO ORDERED.




                                        StevenJ . McAuliffe
                                           Chief Judge


April 1 1 , 2011

cc:   Jaye Rancourt, Esq.
      Robert S. Carey, Esq.
      Donald A. Feith, AUSA
      U.S. Marshal
      U.S. Probation




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